Case 1:20-cv-00547-REB Document 2 Filed 12/01/20 Page 1of 3

United States District Court

for the

District of Lodeto

Division

( Nal eekian

Andrianumearisata Artem Case No.

 

Plaintiff

Vv

Gem State Staffing U.S. COURTS

Idaho Milk Products DEC 01 2020

Idaho Human Rights Commission Reva Filed. lime
STEPHEN W. KENYON
CLERK, DISTRICT OF IDAHO
Defendants

Page 1 of 3
Case 1:20-cv-00547-REB Document 2 Filed 12/01/20 Page 2 of 3

Objection to Undiscoverable Admissible Information

Based on 28 USC 2072 (b) that the rules of civil procedure "shall not ...abridge"
due process of 14th Amendment, the plaintiff , in regard to :

7.1 = (a) disclosure and contents
(b} supplemental statement
15 (d) supplemental statement and response
16 (a) (2) establishing control and management of the case
1) moves to object:

the 26(b)(1) ° Information within this scope of discovery need not be admissibie
in evidence to be discoverable. ",

if such disclosure was filed within the first presence by
modification 16(b)(3)(B)(i), or if such disclosure will be filed further in the
proceedings.

2) requests the court to order : that if information is admissible it must be
discoverable.

Date:

 

Page 2 of 3
Case 1:20-cv-00547-REB Document 2 Filed 12/01/20 Page 3 of 3

Signature of Plaintiff:

 

Printed Name of Plaintiff | Andrianumearisata Artem

Page 3 of 3
